
In re Eaton, Winthrop Earl; — Plaintiff(s); applying for supervisory and/or remedial and writs of habeas corpus; Parish of Rap-ides, 9th Judicial District Court, Div. “B”, No. 216911.
Granted. Proceedings stayed. Hearing is ordered on relator’s competency to be executed. See Ford v. Wainwright, 477 U.S. 399, 106 S.Ct. 2595, 91 L.Ed.2d 335 (1986). Otherwise denied.
DIXON, C.J., concurs in the grant but would also order a hearing on the other assignments.
CALOGERO, J., concurs but would order a hearing regarding Assignment of Error #2 as well.
